                              UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 MARGARET CZERWIENSKI,
 LILIA KILBURN, and AMULYA
 MANDAVA

            Plaintiffs,
   v.                                                     CASE NO. 1:22-cv-10202-JGD

 HARVARD UNIVERSITY AND THE
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE

            Defendants.


                                  AFFIDAVIT OF KWOK W. YU

        I, Kwok W. Yu, hereby depose and state under oath and upon personal knowledge:

   1. My name is Kwok W. Yu. I currently serve as a Senior Associate Dean for Faculty Affairs

for the Faculty of Arts and Sciences (“FAS”) at Harvard University. In that role, I work closely

with FAS Dean Claudine Gay on a variety of faculty related matters, including matters relating to

Title IX and professional conduct. I serve as the Title IX Resource Coordinator and Liaison for

FAS. I have worked at Harvard since 2002.

   2. On August 27, 2021, in my capacity as Title IX Resource Coordinator and Liaison for FAS,

I received a copy of Final Report and exhibits of the Office of Dispute Resolution (“ODR”)

concerning the allegations made by graduate student Lilia Kilburn against Professor John

Comaroff.




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   3. The question of what sanction to impose against Professor Comaroff based on ODR’s

finding against him rests with FAS. For that reason, I shared ODR’s Final Report, including the

Exhibits, with Dean Gay, the Administrative Dean for Faculty Affairs and Planning Nina Zipser,

and Dean of Social Science Lawrence D. Bobo, the group who provided advice to Dean Gay in

connection with consideration of a sanction against Professor Comaroff based on ODR’s finding

and in connection with the question whether to proceed with a professional conduct review.      I

also provided a copy of the Final Report, including the Exhibits, to a lawyer in Harvard’s Office

of General Counsel who provided legal counsel to this group.

   4. To effectuate the sanction imposed against Professor Comaroff, I provided a copy of the

Report, without exhibits—specifically, without Kilburn’s therapist’s notes—and with the sections

of the Report relating to Ms. Kilburn’s therapist redacted, to one other individual.

   5. I did not otherwise distribute the Final Report or exhibits.

Signed under the pains and penalties of perjury this __ day of May 2022.



                                                   Kwok W. Yu




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